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AES/DCP:KTF:BLW/DIB
F. #2024R00288

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
                                                          TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
                                                          COMPLAINT AND
             - against -                                  AFFIDAVIT IN SUPPORT
                                                          OF APPLICATION FOR
                    ,                                     ARREST WARRANTS
TIMOTHY MCCORMACK,
MAHMUD MOLLAH, and                                        (18 U.S.C. §§ 1349 and 3551 et seq.)
LONG PHI PHAM
     also known as “Bruce,”                               Cr. Case No. 24-MJ-404

                           Defendants.

---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                  DOMINIC MARIANI, being duly sworn, deposes and states that he is a Special

Agent with the Federal Bureau of Investigation (“FBI”), duly appointed according to law and

acting as such.

                  In or about and between January 2024 and the present, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants                               , TIMOTHY MCCORMACK, MAHMUD MOLLAH and

LONG PHI PHAM, also known as “Bruce,” together with others, did knowingly and

intentionally conspire to devise a scheme and artifice to defraud Betting Company 1, an online

sports betting company the identity of which is known to your affiant, and to obtain money and

property from Betting Company 1 by means of one or more materially false and fraudulent

pretenses, representations and promises, and for the purpose of executing such scheme and

artifice, to transmit and cause to be transmitted by means of wire communication in interstate
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and foreign commerce writings, signs, signals, pictures and sounds, contrary to Title 18, United

States Code, Section 1343.

               (Title 18, United States Code, Sections 1349 and 3551 et seq.)

               The source of your deponent’s information and the grounds for his belief are as

follows:1

               1.      I am a Special Agent with the FBI and have been involved in the

investigation of numerous cases involving wire fraud, wire fraud conspiracy and illegal

gambling. I am familiar with the facts and circumstances set forth below from, among other

things, my participation in the investigation; my review of the investigative file; and from reports

of other law enforcement officers involved in the investigation.

   I.       Relevant Individuals and Entities

               2.      The defendant                           was a citizen of the

and a resident of                      .

               3.      The defendant TIMOTHY MCCORMACK was a citizen of the United

States and a resident of New York, New York.

               4.      The defendant MAHMUD MOLLAH was a citizen of the United States

and a resident of Lansdale, Pennsylvania.

               5.      The defendant LONG PHI PHAM, also known as “Bruce,” was born in

Vietnam. He was a citizen of the United States and a resident of Brooklyn, New York.

               6.      The National Basketball Association (“NBA”) was a professional

basketball league in North America comprised of 30 teams. The NBA maintained a code of



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               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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conduct applicable to its players and which, among other things, prohibited wagering in

connection with NBA games.

               7.     Player 1, an individual whose identity is known to me, was a citizen of the

United States. During the 2023-2024 season, Player 1 was a professional basketball player in

the NBA. Among others, he played in NBA games that took place on January 26, 2024 (the

“January 26 Game”) and March 20, 2024 (the “March 20 Game”).

               8.     Betting Company 1, the identity of which is known to me, was a

sportsbook that operated both physical sportsbooks and an online platform that offer sports

betting relating to, among other things, NBA games and individual players’ statistical

performances in connection with NBA games. Betting Company 1 operated a physical

sportsbook within a hotel & casino (the “Casino”) in Atlantic City, New Jersey.

               9.     Betting Company 2, the identity of which is known to me, was a

sportsbook that operated both physical sportsbooks and an online platform that offer sports

betting relating to, among other things, NBA games and individual players’ statistical

performances in connection with NBA games.

               10.    Since 2021, Betting Company 1 and Betting Company 2 (collectively, the

“Betting Companies”) have been the co-official sports betting partners of the NBA.

   II.     Background on Sports Betting

               11.    In 1992, following several high-profile sports-betting scandals, Congress

passed the federal Professional and Amateur Sports Protection Act (“PASPA”), 28 U.S.C. § 3702,

which banned all but four states from sponsoring, authorizing, operating, or regulating sports

wagering. The four excepted states—Nevada, Oregon, Delaware and Montana—had existing

sports wagering regimes that PASPA grandfathered in.



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                  12.   In May of 2018, following years of litigation between the State of New

Jersey—which desired to legalize sports betting—and several major American professional and

college sports leagues, the United States Supreme Court struck down PASPA as unconstitutional.

In the ensuing six years, sports betting, and particularly online sports betting, became legal in

over 35 states.

                  13.   In recent years, online sportsbooks like Betting Company 1 and Betting

Company 2 made it possible for bettors to open an online account and place wagers using their

phone. Bettors could generally wager on the moneyline, spread, over/under, parlays, props and

futures.

                  14.   A “prop,” or proposition bet, was a bet placed on an individual player’s

performance, rather than on the outcome of the game. A prop was a bet made regarding the

occurrence or non-occurrence during a game of an event not directly affecting the game’s final

outcome. For example, a betting platform could offer users a wager that a certain player would

score more (referred to as betting the “over”) or fewer (referred to as betting the “under”) points

than a certain number of points designated by the betting platform for a given game. In addition

to adult professional athletes who compete on team sports like Player 1, prop bets could be

placed on college students, individual athletes, and child professional athletes (i.e., professional

athletes who are under the age of 18).

                  15.   A “parlay” bet or a “parlay” was a bet comprised of two or more

individual bets. In order for a bettor to win a parlay, each bet, or “leg,” within the parlay had to

win.

                  16.   A moneyline bet was a wager placed on a game’s outcome.




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                 17.    A futures bet was a bet on the outcome of a multi-stage event such as a

season or a tournament. Futures could refer to either team or player markets, such as which

team would win their division, league, or championship, as well as which player would win

league MVP or Rookie of the Year.

                 18.    Before placing any bet, all bettors wagering through Betting Company 1

and Betting Company 2 had to agree to their respective terms of use (the “Terms of Use”), which

both provided, in sum, substance and in part, that users were prohibited from wagering in

connection with sports contests or individual players’ statistical performances if the users had

access to any pre-release, confidential information or other information that was not available to

all other wagerers, including any information provided by a professional athlete, such as non-

public injury information. The Terms of Use also prohibited individuals from using other

individuals’ accounts to place wagers.

   III.       The Fraudulent Scheme2

              A. Summary

                 19.    As described more fully below, the defendants                            ,

TIMOTHY MCCORMACK, MAHMUD MOLLAH and LONG PHI PHAM conspired to place

“under” prop bets on Player 1’s performance in the January 26 and March 20 Games, knowing in




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               The evidence described below was obtained through a number of sources,
including but not limited to search warrants of cellular phones; betting records obtained from
Betting Company 1 and Betting Company 2; surveillance footage obtained from the Casino; and
records obtained from peer-to-peer payment applications such as Venmo, Paypal, Zelle and
Apple Cash.


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advance that Player 1 planned to withdraw from those games for purported health reasons, thus

rendering those under prop bets successful.3

             B. The January 26 Game

                 20.   As demonstrated in text messages, cell phone application records, and

wire transfer records, among other evidence, by the beginning of 2024, Player 1 had amassed

significant gambling debts to, among others, the defendant                             .

               encouraged Player 1 to clear those debts by engaging in the Player 1 “special,” i.e.,

withdrawing from certain games prematurely to ensure that under prop bets on Player 1’s

performance were successful.

                 21.   In or about early 2024, using the messaging application Telegram, the

defendant                            sent a text message to Player 1 that stated, “Screenshot this . .

. . Me                   born             is forcing [Player 1] to do this.” In response, Player 1

wrote: “If I don’t do a special with your terms. Then it’s up. And u hate me and if I don’t get u

8k by Friday you’re coming to Toronto to beat me up.” Based on my training and experience,

and knowledge of the facts of this investigation, I believe these messages refer to                  ’s

efforts to persuade Player 1 to limit his own game participation in order to positively influence

the outcome of                  ’s and other co-conspirators’ under prop bets on Player 1’s game

performance.

                 22.   On January 22, 2024—four days before the January 26 Game—Player 1

sustained a purported eye injury during a game. Player 1 was evaluated by a doctor after this




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               The evidence indicates that, unlike the other co-conspirators, MOLLAH was only
involved in betting on the March 20 Game.
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game and diagnosed with a corneal abrasion. However, he did not subsequently complain about

the purported injury and was not placed on the NBA’s injury list.

              23.                           , shortly before the January 26 Game, Player 1

communicated with the defendants                            and LONG PHI PHAM in a

Telegram group chat. In the Telegram chat, Player 1 told                 and PHAM that he

would be removing himself early from the January 26 Game, claiming that he was injured.4

              24.     Player 1 was not on the NBA’s injury list prior to the January 26 Game.

Player 1 entered the January 26 Game midway through the first quarter. After playing just four

minutes (approximately 30% of his 2023-2024 NBA season average) and recording zero points,

three rebounds and one assist, Player 1 removed himself from the game after he complained to

team officials that he reaggravated the above-described eye injury. Video footage of the

January 26 Game neither shows any contact with Player 1’s eyes, nor any apparent reaggravation

of the eye injury. Player 1 did not subsequently complain to team officials about the purported

eye injury after the January 26 Game and played in his team’s next game two days later.

              25.     Player 1’s performance in several statistical categories during the January

26 Game was under the designated amounts set by Betting Company 1 in its prop bets related to

Player 1. Thus, several bettors who wagered the “under” on prop bets related to Player 1’s

performance for the January 26 Game won those bets. Among the successful “under” bets

placed on prop bets related to Player 1’s performance for the January 26 Game were the

following:




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                         i.    A relative of the defendant                           (the “
                               Relative”), whose identity is known to me, placed a $10,000 parlay bet
                               through Betting Company 1 on the “under” for Player 1’s three
                               pointers, assists and steals. As a result of Player 1 removing himself
                               from the January 26 Game, the bet was successful and the
                               Relative won $85,000 (netting a profit of $75,000).

                        ii.    The defendant TIMOTHY MCCORMACK placed a $7,000 parlay bet
                               through Betting Company 1 on the “under” for Player 1’s three
                               pointers, points, assists and rebounds. As a result of Player 1
                               removing himself from the January 26 Game, the bet was successful
                               and MCCORMACK won $40,250 (netting a profit of $33,250).

           C. The March 20 Game

                  26.      On March 17, 2024, Player 1 played one of his best games of the season,

playing 20 minutes and recording seven rebounds (tied for his highest rebounding output of the

2023-2024 NBA season). In the following days, Player 1 told team officials, various family

members and a friend that he started feeling symptoms of an illness consistent with food

poisoning. Nevertheless, Player 1 played in his team’s next game (the March 20 Game).

                  27.                           , prior to the March 20 Game, the defendants

                              , MAHMUD MOLLAH, LONG PHI PHAM and Player 1 communicated

together in a Telegram group chat. In the Telegram chat, Player 1 told                    MOLLAH

and PHAM that he would be removing himself early from the March 20 Game, claiming that he

was ill. Also in the Telegram chat, the group agreed on a profit-sharing agreement for money

won on successful “under” bets placed on Player 1. The agreement contemplated, in sum and

substance, that                   MOLLAH, PHAM and Player 1 would each approximately receive

24% of the profits and MCCORMACK would receive approximately 4% of the profits.

                  28.      On March 20, 2024, the defendants                          , TIMOTHY

MCCORMACK, MAHMUD MOLLAH and LONG PHI PHAM all met at the Casino in Atlantic

City to place bets on Player 1. Surveillance footage from the Casino and photographs stored on

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made a transfer to the defendant TIMOTHY MCCORMACK of $65,000 and then attempted to

transfer $25,000 to MCCORMACK, which was denied by PayPal. MCCORMACK then

transferred $74,300 from his PayPal account to his account at Betting Company 1 that same day.

              31.         During the March 20 Game, after playing just three minutes (less than

30% of his 2023-2024 NBA season average), and recording zero points, two rebounds and zero

assists, Player 1 removed himself from the game after he complained to team officials of feeling

ill. Player 1 did not reenter the game. Player 1 was not subsequently placed on the NBA’s

injury list and played in his team’s next game on March 22, 2024.

              32.         Player 1’s performance in many statistical categories during the March 20

Game was under the designated amounts set by Betting Company 1 in its prop bets related to

Player 1. Thus, several bettors who wagered the “under” on prop bets related to Player 1’s

performance for the March 20 Game won those bets. Among the successful “under” bets placed

on prop bets related to Player 1’s performance for the March 20 Game were the following:

                      i.     The defendant TIMOTHY MCCORMACK wagered $8,000 through
                             Betting Company 1 on the “under” for Player 1’s rebounds. As a
                             result of Player 1 removing himself from the March 20 Game, the bet
                             was successful and MCCORMACK won $44,000 (netting a profit of
                             $36,000).

                    ii.      The defendant MAHMUD MOLLAH wagered $10,000 through
                             Betting Company 1 on the “under” for Player 1’s assists. As a result
                             of Player 1 removing himself from the March 20 Game, the bet was
                             successful and MOLLAH won $42,000 (netting a profit of $32,000).

                    iii.     The defendant MAHMUD MOLLAH placed an $80,000 parlay bet
                             through Betting Company 1 on the “under” for Player 1’s assists,
                             rebounds, points, three pointers, steals and blocks. As a result of
                             Player 1 removing himself from the March 20 Game, the bet was
                             successful and MOLLAH won $1,120,000 (netting a profit of
                             $1,040,000).

                    iv.      The defendant MAHMUD MOLLAH placed three separate $500
                             parlay bets through Betting Company 1 on the “under” for Player 1’s

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                              assists, rebounds, points, three pointers, steals and blocks. As a result
                              of Player 1 removing himself from the March 20 Game, the bets were
                              successful and MOLLAH won $21,500 (netting a profit of $20,000).

                     v.       The defendant MAHMUD MOLLAH placed a $9,400 parlay bet
                              through Betting Company 1 on the “under” for Player 1’s blocks,
                              points and assists. As a result of Player 1 removing himself from the
                              March 20 Game, the bet was successful and MOLLAH won $44,650
                              (netting a profit of $35,250).

                     vi.      The defendant MAHMUD MOLLAH placed two separate $500 parlay
                              bets through Betting Company 1 on the “under” for Player 1’s assists,
                              rebounds, points and blocks. As a result of Player 1 removing himself
                              from the March 20 Game, the bets were successful and MOLLAH won
                              $5,375 (netting a profit of $4,375).

Geolocation data confirmed that the accounts through which the above-described wagers were

made were logged into from the Casino shortly before the above-described wagers were made.

               33.         Due to the suspicious nature of the wagers described above, Betting

Company 1 suspended the defendant MAHMUD MOLLAH’s account after MOLLAH placed

the bets on Player 1’s performance on March 20, 2024 and before MOLLAH could withdraw the

majority of the winnings.

               34.         After the January 26 and March 20 Games, the Betting Companies

reported the suspicious prop bets described above to the International Betting Integrity

Association (“IBIA”), which reported the activity to the FBI. The Betting Companies also

reported the suspicious betting activity to the NBA, which opened an investigation regarding

Player 1 and the nature and circumstances surrounding the above-described wagers.

               35.         On April 4, 2024, in a group chat between Player 1 and the defendants

                            , MAHMUD MOLLAH and LONG PHI PHAM, Player 1 wrote to the

group that they “might just get hit w a rico” and asked if the group chat participants had

“delete[d] all the stuff” from their personal cell phones. Based on the government’s



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investigation and my professional experience and background, I believe these messages refer to

Player 1’s concerns that he and certain of the co-conspirators would be criminally investigated

for, among other things, violations of the Racketeer Influenced and Corrupt Organizations Act,

and needed to delete any evidence on their personal cell phones.

               36.       On April 10, 2024, the defendant                          sent a text

message to the defendant MAHMUD MOLLAH stating: “I really need you to hound [Betting

Company 1]. At least get me back my principle $.” Based on my training and experience, and

my knowledge of the facts of this investigation, I believe this message from                   to

MOLLAH refers to the fact that Betting Company 1 suspended MOLLAH’s account after

MOLLAH placed the bets on Player 1’s performance on March 20, 2024. Further, this text

message indicates that                 provided MOLLAH with the cash that MOLLAH used to

place the bets on Player 1’s performance.

               37.       Following its investigation, the NBA permanently banned Player 1 from

the NBA. Among other things, the NBA reported in a press release that “[t]he league’s

investigation found that prior to the . . . March 20 game, [Player 1] disclosed confidential

information about his own health status to an individual he knew to be an NBA bettor . . . . The

league’s investigation also found that [Player 1] limited his own game participation to influence

the outcome of one or more bets on his performance in at least one [NBA] game. In the March

20 game, [Player 1] played only three minutes, claiming that he felt ill.”

   IV.     The Defendant LONG PHI PHAM’s Attempted Flight to Australia

               38.       On May 31, 2024, one day after the government attempted to question the

defendant TIMOTHY MCCORMACK, the defendant LONG PHI PHAM booked a one-way

airplane ticket to Australia. On June 3, 2024, law enforcement officers apprehended PHAM at



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John F. Kennedy International Airport as PHAM prepared to board the flight. PHAM had in his

possession, among other things, approximately $12,000 in cash; two cashier’s checks totaling

$80,000; a series of betting slips; and three cellular phones.

               WHEREFORE, your deponent respectfully requests that the defendants

             , TIMOTHY MCCORMACK, MAHMUD MOLLAH and LONG PHI PHAM be

dealt with according to law.



                                               /s Dominic Mariani
                                             DOMINIC MARIANI
                                             Special Agent
                                             Federal Bureau of Investigation


Sworn to before me telephonically this ____ day of June, 2024


____________________________________________
THE HONORABLE CHERYL L. POLLAK
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




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